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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JEREMY RYAN CARD, on Behalf of§
Himself and on Behalf of Others
                              §
Similarly Situated,           §
              Plaintiff,      §
                              §                      CIVIL ACTION NO. 4:17-cv-00524
V.                            §
                              §
QUALITY CABLE INSTALLERS, LLC,§
NEEDHAM COMMUNICATIONS        §
AND MICHAEL LEE NEEDHAM       §
         Defendants.          §

                           JOINT AND AGREED
             MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT

       Plaintiffs Jeremy Ryan Card, Emanuel Guerrero, Gabriel Gonzalez (“Plaintiffs”) and

Defendant Quality Cable Installers, LLC (“QCI”) (collectively as “the Parties”), by and through

their undersigned counsel, hereby jointly move the Court for approval of the Settlement

Agreement and General Release (the “Settlement Agreement”) attached as Exhibit A.

Contingent upon this Court‟s approval of the Settlement Agreement and QCI‟s payment of the

settlement funds, the Parties intend to stipulate to the dismissal, with prejudice, of Plaintiffs‟

claims against QCI pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

                                RELEVANT BACKGROUND

       Plaintiff Jeremy Ryan Card filed his Original Collective Action Complaint on February

16, 2017. [Doc. No. 1]. QCI filed its Answer and Affirmative Defenses to Plaintiff‟s Original

Collective Action Complaint on April 17, 2017. [Doc. No. 6].           On September 19, 2017,

Plaintiff filed his Opposed Motion for Conditional Certification and Notice to Potential Class

Members. [Doc. No. 13]. On October 10, 2017 QCI filed its Response in Opposition to

Plaintiff‟s Motion for Conditional Certification and for Notice to Potential Class Members.



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[Doc. No. 15]. On December 29, 2017 the Court granted, in part, Plaintiff‟s Opposed Motion for

Conditional Certification and Notice to Potential Class Members and conditionally certified this

matter as a collective action under 29 U.S.C. §216(b) with respect to all current and former

foremen who worked for Quality Cable Installers, LLC during any workweek between January

1, 2015 to the present. [Doc. Nos. 21 and 22]. Finally, on May 21, 2018 Plaintiff filed his First

Amended Collective Action Complaint to which QCI filed its Answer and Affirmative Defenses

on May 31, 2018. [Doc. Nos. 29 and 30]. Each version of Plaintiff‟s complaint alleges that QCI

failed to pay Plaintiff and “its other helpers and foremen for all hours worked and also fail[ed] to

pay appropriate overtime wages when they work more than forty (40) hours in a workweek as

required by the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201 et seq.” Id.

        QCI has answered Plaintiffs‟ complaints, denied Plaintiffs‟ claims, and asserted various

defenses. In addition, QCI maintains that Plaintiffs‟ claims involve overwhelmingly

individualized issues and are not susceptible of either class or collective treatment. On or about

June 25, 2018, the Parties reached an agreement to resolve all claims in this case. A true and

correct copy of the resulting Settlement Agreement is attached as Exhibit A. The Parties and

their respective Counsel agree the Settlement Agreement is a fair and reasonable compromise of

the claims alleged by Plaintiffs in light of the procedural posture of the case, the litigation risks,

and the litigation costs to the Parties.

        Given that this case involves claims under the FLSA, and because the terms of the

Settlement Agreement constitute a fair and reasonable compromise, the Parties seek entry of an

order approving the Settlement Agreement.

                                   CITATION OF AUTHORITY

        “FLSA claims may be compromised after the court reviews and approves a settlement in

a private action for back wages under 29 U.S.C. § 216(b).” Pedigo v. Austin Rumba, Inc., 722


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F.Supp.2d 714, 736 (W.D.Tex.2010) (quoting Villeda v. Landry's Rests., Inc. ., No. H–08–2287,

2009 WL 3233405, at *1 (S.D.Tex. Oct.7, 2009)). “The primary focus of the Court‟s inquiry in

deciding whether to approve the settlement of a FLSA collective action is not on due process

concerns as it would be for a Rule 23 class action...Rather[,] the Court primarily focuses on

ensuring that an employer does not take advantage of its employees in settling their claim for

wages.” Sims v. Hous. Auth. City of El Paso, EP–10–CV–109–PRM, 2012 WL 10862119, at *2

(W.D.Tex. Feb.29, 2012). “When a court scrutinizes an FLSA settlement agreement, it must

determine that the compromise is fair and reasonable resolution of a bona fide dispute over

the FLSA‟s provisions.” Domingue v. Sun Elec. & Instrumentation, Inc., No. 09–682, 2010 WL

1688793, at *1 (M.D.La. Apr. 26, 2010). The Settlement Agreement agreed to by the Parties is a

fair and reasonable resolution to this case because uncertainty exists in this case with respect to

the disputes of fact and law. Abernathy v. Becon Constr. Co., Inc., 2016 WL 7427024, at *1

(E.D. Tex. Dec. 16, 2016), report and recommendation adopted, 1:14-CV-466, 2016 WL

7374420 (E.D. Tex. Dec. 20, 2016) (“If a settlement reflects a „reasonable compromise over

issues‟, the court may approve it…The Fifth Circuit has stated that a private compromise of

claims under the FLSA is permissible where there exists a bona fide dispute as to liability.”).

               ARGUMENTS FOR RELEASE OF FLSA AND NON-FLSA CLAIMS

       Plaintiff alleges he has not been compensated for all hours worked, has been subject to

improper deductions from his wages, and/or has not been compensated at one and a half times

their regular rate of pay for all hours worked in excess of forty (40) in a single work week. [See

Doc. No. 29]. Plaintiff further alleges that QCI willfully violated these obligations and that he is

entitled to unpaid overtime and straight time wages, liquidated damages and attorneys‟ fees. Id.




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       By contrast, QCI asserts multiple affirmative defenses and denies that Plaintiffs or any

other employees regularly worked more than forty (40) hours per work week, were subject to any

improper deductions from owed wages, and were not compensated at one and a half times their

regular rate of pay for all hours worked in excess of forty (40) in a single work week (of which

there were none). [See Doc. No. 30]. QCI further denies any willful violation of these obligations

and maintains that even if Plaintiffs‟ allegations were correct, which they are not, QCI acted in

good faith and Plaintiffs cannot establish that QCI engaged in willful conduct within the meaning

of the FLSA and therefore cannot recover damages beyond the two-year limitations period or

liquidated damages. Id.

       Additionally, during the course of this litigation, Defendant has discovered potential

claims it may have against Plaintiff(s). In exchange for the release of Defendant‟s claims against

Plaintiffs, Plaintiffs have agreed to release any non-FLSA claims they may have against

Defendant as provided for in the Settlement Agreement.

       Given the above bona fide disputes surrounding liability and damages, including a

dispute over the hours worked by Plaintiffs and wages due to Plaintiffs, the Parties believe the

instant settlement is fair and reasonable under the facts and circumstances of this particular case.

Accordingly, the Parties respectfully request that this Court sign the attached order approving the

settlement.

                                                     Respectfully submitted,

                                                     CHAMBERLAIN, HRDLICKA, WHITE,
                                                     WILLIAMS & AUGHTRY, P.C.


                                                     By: __/s/ Diana Pérez Gomez____________
                                                            Diana Pérez Gomez
                                                            State Bar No. 24041674
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                                                   By: _/s/ Trace D. Lewis*_______________
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                                                   ATTORNEYS FOR PLAINTIFFS

                               CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above pleading has been forwarded via e-
filing pursuant to Federal Rule of Civil Procedure 5, on October 16, 2018 to all counsel of
record.

       Gregg M. Rosenberg
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                                                   __/s/ Diana Pérez Gomez_______
                                                    Diana Pérez Gomez




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